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       Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 6

 7                                 UNITED STATES DISTRICT COURT

 8                                CENTRAL DISTRICT OF CALIFORNIA

 9
        NEMAN BROTHERS & ASSOC.,                              Case No.: 2:20-cv-11181-CAS-JPR
10
        INC., a California Corporation,
                                                              EVIDENTIARY OBJECTION TO
11                                                            DECLARATION OF ZIJIA CHEN
                     Plaintiff,
12                   v.

13                                                            Date: December 6, 2021
        INTERFOCUS, INC. d.b.a.
                                                              Time: 10 a.m.
        www.patpat.com, a Delaware
14
        Corporation; CAN WANG, and
15      individual, and DOES 1-10, inclusive.,

16                    Defendants.
        ---------------------------------------------------
17      INTERFOCUS, INC. d.b.a.
        www.patpat.com, a Delaware
18
        Corporation; CAN WANG, an
19      individual, and DOES 1-10, inclusive,

20                   Counterclaim Plaintiffs,
                     v.
21
        NEMAN BROTHERS & ASSOC.,
22
        INC., a California Corporation;
23
                         Counterclaim Defendant.
24

25


                                                 1
                         EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1                                EVIDENTIARY OBJECTIONS

 2

 3           MATERIAL OBJECTED TO                   GROUNDS FOR                   COURT’S

 4                                                    OBJECTION                    RULING

 5      1. I am the Director of Sourcing for   lack of disclosure on the       Sustained: ____

 6                                             FRCP rule 26 and rule 37        Overruled:____
        Shenzhen Yinfusi Co. Ltd., a
 7                                             (Interfocus never identified
        supplier and sourcing company of
 8                                             or disclosed this person as a
        clothing to Interfocus Inc.
 9                                             potential witness until the

10      ("Interfocus").                        date of filing this

11                                             declaration.)

12

13                                             lack of foundation /            Sustained: ____
        I have worked in the fabric and
14                                             “worked in” is vague. /         Overruled:____
        garment industry for more than 16
15                                             improper attempts to speak
        years.
16                                             as a witness with on proper
17                                             disclosure
18

19      I have personal knowledge of the
20
        following facts except where
21
        otherwise indicated, and if called
22
        upon as a witness, I could and would
23

24      competently testify thereto.

25


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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      2. I am familiar with the operations     lack of foundation          Sustained: ____

 2                                                                           Overruled:____
        of the Chinese garment and textile
 3
        industry.
 4

 5

 6      The majority of the fabrics for the      lack of foundation /        Sustained: ____

 7      Chinese garment industry are made        improper expert testimony   Overruled:____

 8      by textile factories located in either   with no proper disclosure

 9
        Zhejiang or Guangdong provinces in
10
        China.
11

12

13      These factories also make a              lack of foundation /        Sustained: ____

14      significant percentage of the fabrics    improper expert testimony   Overruled:____

15      U.S. companies use.                      with no proper disclosure

16

17
        In recent years there have been some
18                                               “some companies” is vague   Sustained: ____
        fabric and garment companies
19                                               / lack of foundation /      Overruled:____

20      moving to Vietnam, which is right        improper expert testimony

21      next to Guangdong province.              with no proper disclosure

22

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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      There is significant cross border    “significant” is vague / lack   Sustained: ____

 2                                           of foundation / improper        Overruled:____
        commerce between Vietnam and
 3                                           expert testimony with no
        Guangdong province.
 4                                           proper disclosure

 5
        3. Fabrics sold on the open fabric   Vague / lack of foundation      Sustained: ____
 6
                                             / improper expert testimony     Overruled:____
 7      markets in the Zhejiang or
                                             with no proper disclosure
 8      Guangdong provinces come from
 9
        various sources.
10

11
        Many come from manufacturers in      Vague / lack of foundation      Sustained: ____
12
        those provinces and from companies   / improper expert testimony     Overruled:____
13
                                             with no proper disclosure
14      in Vietnam.
15

16
        Some of the manufacturers sell
                                             Irrelevant speculation about    Sustained: ____
17
        fabrics with designs licensed from   some manufacturers /            Overruled:____
18
        others, including U.S. companies.    Vague / documents
19
                                             (license) speak for
20
                                             themselves / lack of
21
                                             foundation / improper
22
                                             expert testimony with no
23
                                             proper disclosure
24

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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      Thus, many of those fabrics come        Lack of foundation for this   Sustained: ____

 2                                              Illogical conclusion          Overruled:____
        from licensed manufacturers.
 3

 4
        There are also occasions that
 5                                              Lack of foundation and        Sustained: ____

 6      garment companies that acquired         personal knowledge for the    Overruled:____

 7      fabric but did not use all of the       speculative conclusion that

 8      fabrics they purchased for              the accused fabrics were

 9                                              “excess inventory”
        their fabric manufacturing purposes,
10                                              produced under Naman’s
        end up selling their excess inventory
11                                              permission or license. /
        in the open market.
12                                              improper expert testimony

13                                              with no proper disclosure

14

15      4. The fabrics for the accused          Irrelevant (illegal copies    Sustained: ____
16                                              being widely available in     Overruled:____
        garments in this case and similar
17                                              China does not justify
        fabrics are widely available in
18                                              copyright infringements.)
        China. I personally have seen them
19

20      at fabric market in Guangzhou,

21      Guangdong province and online.
22

23

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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      5. To verify that these fabrics can be   Irrelevant (illegal copies    Sustained: ____

 2                                               being easily obtainable       Overruled:____
        easily obtained, I conducted an
 3                                               online in China does not
        experiment.
 4                                               justify copyright

 5                                               infringements.)

 6

 7      6. In September, I asked Shaoxing        Irrelevant (the declarant     Sustained: ____

 8                                               could go and ask the          Overruled:____
        Zhongxing Textile Co. Ltd., a fabric
 9                                               supplier of the accused
        manufacturer in Shaoxing, Zhejiang,
10                                               fabric whether it made the
        China, whether it can make the
11                                               accused fabrics under

12      fabrics shown below.                     Neman’s permission or

13                                               license. However, the

14                                               declarant went to a third

15                                               party fabrics supplier only
16                                               to ask whether it would be
17                                               easy to copy Neman’s
18                                               designs.)
19

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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      7. The representative of the company Irrelevant (the company           Sustained: ____

 2                                               could manufacture illegal     Overruled:____
        stated that it could manufacture the
 3                                               copies does not justify the
        fabric or similar ones.
 4                                               copyright infringements)

 5

 6

 7      I was not required to show any proof Irrelevant (the said
 8      that I worked for a company with a       company’s willingness and     Sustained: ____

 9                                               ability to make illegal       Overruled:____
        license from Neman Brothers.
10                                               copies without license does

11                                               not justify the copyright

12                                               infringements

13

14                                               Irrelevant (the designs       Sustained: ____
        8. To show its capability, the
15                                               shown below are only          Overruled:____
        company representative showed me
16                                               similar as to the “idea” of
        fabrics they have previously made
17                                               drawing flowers, but the
18      that are similar to the fabric designs   “expressions” of the
19      that I showed them. (See below).         flowers are not similar at
20                                               all. If they are arguably
21                                               similar, it only means they
22                                               have made illegal copies in
23                                               the past.)
24

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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1      The representative stated that the     Irrelevant (the availabilities   Sustained: ____

 2                                             of the random floral             Overruled:____
        company had been producing these
 3                                             designs from 2019 proves
        fabrics below for some years, and at
 4                                             nothing for the defense.)
        the latest, from 2019.
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23     IT IS SO ORDERED.
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                      EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
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 1

 2     Dated:

 3                                             ________________________
 4                                             Honorable Judge Christina A. Snyder
                                               United States District Court
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                    EVIDENTIARY OBJECTION TO DECLARATION OF ZIJIA CHEN
